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                           UNITED STATES DISTRICT COURT

                                    DISTRICT OF OREGON

                                     EUGENE DIVISION



UNITED STATES OF AMERICA                            6:20-cr-00546-MC

              v.                                    MISDEMEANOR INFORMATION

DORINDA LEE SCHAPER,                                21 U.S.C. § 844(a)

              Defendant.


                     THE UNITED STATES ATTORNEY CHARGES:

                                          COUNT 1
                         (Simple Possession of Controlled Substance)
                                     (21 U.S.C. § 844(a))

       Between on or about June to August 2018, in the District of Oregon, the defendant

DORINDA LEE SCHAPER knowingly and intentionally possessed hydromorphone, a

Schedule II controlled substance.

       In violation of Title 21, United States Code, Sections 844(a).

       Dated: December 23, 2020

                                                    Respectfully submitted,

                                                    BILLY J. WILLIAMS
                                                    United States Attorney

                                                    /s/ Joseph H. Huynh__________
                                                    JOSEPH H. HUYNH
                                                    Assistant United States Attorney

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